

VanDeMark v MBR Capital Partners, LLC (2022 NY Slip Op 00573)





VanDeMark v MBR Capital Partners, LLC


2022 NY Slip Op 00573


Decided on January 28, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 28, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, LINDLEY, CURRAN, AND DEJOSEPH, JJ.


972 CA 21-00034

[*1]ROBERT T. VAN DE MARK, PLAINTIFF-APPELLANT,
vMBR CAPITAL PARTNERS, LLC, ET AL., DEFENDANTS. (ACTION NO. 1.)
TRACEY TAYLOR, FORMERLY KNOWN AS TRACEY BERNARDONI, PLAINTIFF-RESPONDENT,
vROBERT T. VAN DE MARK, DEFENDANT-APPELLANT, ET AL., DEFENDANTS. (ACTION NO. 2.) (APPEAL NO. 1.) 






THE LAW OFFICE OF ANNEMARIE E. STEWARD, WILLIAMSVILLE (ANNEMARIE E. STEWARD OF COUNSEL), FOR PLAINTIFF-APPELLANT AND DEFENDANT-APPELLANT. 


	Appeal from an order of the Supreme Court, Erie County (Diane Y. Devlin, J.), entered October 29, 2020. The order granted the motion of Tracey Taylor, formerly known as Tracey Bernardoni, leave to intervene in action No. 1 and denied the motion of Robert T. Van De Mark to dismiss the amended complaint in action No. 2. 
It is hereby ORDERED that the order so appealed from is affirmed without costs for reasons stated in the decision at Supreme Court.
All concur except DeJoseph, J., who is not participating.
Entered: January 28, 2022
Ann Dillon Flynn
Clerk of the Court








